To:

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UN|TED STATES D|STR|CT COURT

D|STR|CT OF |DAHO

SEALED
UN|TED STATES OF AN|ERICA WARRANT FOR ARREST
v.
NATALYA BABICHENKO
aka NATALYA SHELUBAY CASE NUMBER: 1:18-cr-258-EJL
aka NATAL|E BAB[CHENKO r-=-C¢L. '-j_-_----_-_-j__.._.-._

aka NATAL|ABAB\CHENKO § h j 5
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g l'\': '_ i~ ._l,\,

The United States Marshai j ~'r__ , __ ___-r_
and any Authorizei:i United States Offlcer

r- - ~.._.

YOU ARE HEREBY COMMANDED to arrest NATALYA BAB|CHENKO and bring forthwith to

the nearest magistrate to answer |NDICTMENT charging with the below listed violationl

18 U_S_C. §§ 1349, 1343 - Conspiracy to Commit Wire Fraud
18 U_S.C_ § 2320(a)_ (b](1)_ (1)(1) - Conspiracy to Trafi‘ic Counterfeit Goods
18 U.S.C. § 1956(11)- Conspiracy to Launder Money

<-JATES co Uniled States Cour‘ts
District of |daho

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Sunny Trumhu.f.'
on Aug 17, 2018 1:1'9 pm
fsi Sunnv Trumbu||. Denutv C|erk August17 2018
Name and Title of issuing Offlcer Date
RETURN
This Warrant Was rece‘ved and executed With the arrest of the above-

  

named individual at \i%--

 

08'2?--1015

 

Signature of Arresting Ofncer Date of Arrest

(\J.%\\u)i'\O/v\. ~Si"f>,~\

Narne & Tit|e of Arr`esting Oft"lcer

